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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )                8:02CR164
      vs.                                )
                                         )                 ORDER
YAMIL RIVERA-KADER,                      )
                                         )
                   Defendant.            )


       IT IS ORDERED that defendant's Motion to Continue Trial (#447) is held in
abeyance pending defendant's compliance with NECrimR 12.1. Defendant shall file the
required waiver before the close of business on October 28, 2005.

      DATED October 19, 2005.

                                      BY THE COURT:

                                      s/ F.A. Gossett
                                      United States Magistrate Judge
